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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF VIRGINIA
                            CHARLOTTESVILLE DIVISION

     ELIZABETH SINES, et al.,
                                                      CASE NO. 3:17-cv-00072
                                     Plaintiffs,

                          v.                          ORDER

     JASON KESSLER, et al.,
                                                      JUDGE NORMAN K. MOON
                                      Defendants.



         This case has been set for a Status Conference Video-Conference on September 14, 2020

  at 2:00 P.M. ET, before United States District Judge Norman K. Moon.



         It is REQUESTED that the Warden at Stafford County Department of Corrections in New

  Hampshire have

         Christopher Cantwell (# 20-00348)

  available for a VIDEO-CONFERENCE or PHONE CALL (if video-conference is unavailable)

  on that date and time so that he may participate in his case. The dial in information will be

  separately sent by the Clerk’s Office forthwith.

         It is so ORDERED.

         The Clerk of the Court is directed to send a certified copy of this Order to the parties, to

  Mr. Cantwell, and to the Stafford County Department of Corrections.

         Entered this 9th      day of September, 2020.
